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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA




  DEMOCRACY PARTNERS, et al.,

                         Plaintiffs,

                  v.                                          Case No. 17-1047 (ESH)

  PROJECT VERITAS ACTION FUND, et al.,




                       Defendants.


           UNITED STATES OF AMERICA’S ACKNOWLEDGMENT OF
          CONSTITUTIONAL QUESTION AND UNOPPOSED MOTION
           FOR ADDITIONAL TIME TO CONSIDER INTERVENTION

        On May 6, 2019, Defendants in the above-captioned action filed a Notice of

Constitutional Question pursuant to Federal Rule of Civil Procedure 5.1(a). See ECF No. 65.

In that Notice, Defendants stated that they had filed a motion for summary judgment

challenging the constitutionality of a federal statute, 18 U.S.C. § 2511(2)(d), as violative of the

First Amendment to the U.S. Constitution. This Court has certified the constitutional

question. See ECF No. 67; see also Fed. R. Civ. P. 5.1(b); 28 U.S.C. § 2403. Federal Rule of

Civil Procedure 5.1(c) provides that: “Unless the court sets a later time, the attorney general

may intervene within 60 days after the notice is filed or after the court certifies the challenge,

whichever is earlier,” which in this case would be July 5, 2019, unless the Court sets a later

date.
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       The United States is authorized to intervene in any federal court action in which the

constitutionality of an Act of Congress is drawn into question. 28 U.S.C. § 2403(a). Counsel

for the United States respectfully advises the Court that the United States has not yet decided

whether to intervene in this action to defend the constitutionality of § 2511(2)(d). The

approval of the Solicitor General is required for the United States to intervene in an action to

defend the constitutionality of a federal statute. See 28 C.F.R. § 0.21. The process of obtaining

a decision on intervention from the Solicitor General generally takes at least several weeks,

sometimes longer, and Defendant’s Rule 5.1 Notice only recently came to the attention of the

component of the Department of Justice responsible for recommending to the Solicitor

General whether intervention is warranted. Consequently, additional time is needed to obtain

a decision on intervention.

       Accordingly, pursuant to Fed. R. Civ. P. 6(b)(1), counsel for the United States hereby

submits this unopposed motion to extend the time period during which the United States may

intervene for the limited purpose of defending the constitutionality of § 2511(2)(d) by an

additional sixty days, up to and including September 3, 2019. If the United States intervenes,

it will be prepared to file its memorandum in defense of the constitutionality of the statute

that same day. The United States has not previously requested any extension of time in this

motion. Undersigned counsel for the United States has spoken with counsel for Plaintiffs and

counsel for Defendants regarding this motion. No party opposes the United States’ request

for a sixty-day extension to determine whether to intervene.




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       Dated: June 28, 2019                        Respectfully submitted,

                                                   JOSEPH HUNT
                                                   Assistant Attorney General

                                                   ERIC R. WOMACK
                                                   Assistant Branch Director

                                                   /s/ Kate Bailey
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                              CERTIFICATE OF SERVICE

       I hereby certify that on June 28, 2019, the foregoing document was electronically filed

with the Court’s Electronic Filing System which served the document electronically on all

registered attorneys of record.

                                           /s/ Kate Bailey______________
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